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                   Exhibit A
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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


                                                                 Civil Action No. 3:22-cv-30059
 LAUREN ROLLINS,
          Plaintiff,
                                                        PLAINTIFF’S RESPONSE TO
        v.                                           DEFENDANT’S FIRST REQUEST FOR
                                                       PRODUCTION OF DOCUMENTS
 R STREET INSTITUTE,
            Defendant.



       Plaintiff, Lauren Rollins ("Rollins" or “Plaintiff”) by and through her attorney, pursuant

to Federal Rules of Civil Procedure ("FRCP") Rules 26 and 34, and applicable local rules

(collectively, “the Rules”), hereby responds and objects to Defendant, R Street Institute’s

("R Street" or “Defendant”) First Requests for the Production of Documents ("the

Requests") as follows:

                                 GENERAL OBJECTIONS

       A.        Rollins objects to the Requests to the extent they seek or purport to impose

upon Rollins obligations other than those imposed by the Rules. Rollins's objections to

the Requests are prescribed by, and she hereby responds in accordance with, the Rules.

       B.        Rollins objects to the Requests to the extent that they seek attorney work

product, trial preparation materials, documents prepared after the commencement of this

litigation, or communications protected by the attorney-client privilege or any other

applicable privilege. In the event that any protected or privileged documents are

produced by Rollins, such production is inadvertent and does not constitute a waiver of

any privilege.

       C.        Rollins objects to the Requests to the extent that they call for documents

not within her possession, custody, or control.


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        D.       Rollins objects to the Requests to the extent that the information therein is

equally accessible to Defendant.

        E.       Rollins objects to the Requests to the extent that they are not proportional

to the needs of the case.

        F.       Rollins objects to the Requests to the extent they seek information that is

not relevant to the subject matter of this litigation.

        G.       Rollins objects to the Requests to the extent that they are not limited in

time.

        H.       Rollins objects to each Document Request to the extent that it is

ambiguous, vague or otherwise incomprehensible.

        I.       Rollins objects to the Requests to the extent that they do not identify

the documents to be produced with reasonable particularity. Rollins has responded to

each request based upon a reasonable, common-sense reading of the request. Rollins

reserves the right to amend or supplement these responses in the event that Defendant

later asserts a different interpretation which is accepted by Rollins.

        J.       Rollins objects to the Requests to the extent that they are overbroad,

redundant, overlapping, repetitive or harassing.

        K.       Rollins provides these objections and responses without conceding that any

of the documents sought is either relevant to or admissible in any trial of this action.

        L.       By stating in these responses that Rollins will produce documents

responsive to specific requests, Rollins does not represent that any particular documents

actually exist, but only that she will make a good faith search in an attempt to ascertain

whether responsive documents do, in fact, exist in her possession, custody, and control.




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       M.     Rollins reserves any and all rights to withhold any documents from

production or to redact portions of any documents to be produced based upon any

objections made herein.

       N.     Rollins hereby declares that her responses to the Requests are based on

present knowledge, information and belief, and are subject to amendment and

supplementation as Rollins acquires additional information and completes a review and

analysis.

       O.     Consistent with the Rules, Rollins reserves the right to provide information

or documents that may come to her attention and become available in the future and to

use such information or documents at any hearing or proceeding related to this action.

       P.     Each and every response to a Document Request is made subject to the

foregoing General Objections, regardless of whether a General Objection or specific

objection is stated in the response. The explicit reference to a General Objection or the

making of a specific objection in response to a particular Document Request is not

intended to constitute a waiver of the General Objections that are not specifically referred

to in that response.


                                DOCUMENTS REQUESTED




                                    REDACTED




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                               REDACTED




       34.    Any and all records maintained by any physician, health care facility, hospital,

psychologist, psychiatrist, social worker, or other healthcare provider with whom Plaintiff

visited, consulted, or received treatment or evaluation for any condition or symptom that

Plaintiff claims was caused by or resulted from R Street’s alleged conduct, including, but not

limited to, medical records, laboratory and test results, consultation notes, and statements of

charges for services rendered.

       RESPONSE 34.

       Medical marijuana practitioner, An Chen at Veriheal.com; see Exhibit C.



       35.    Any and all records maintained by any physician, health care facility, hospital,

psychologist, psychiatrist, social worker, or other healthcare provider with whom Plaintiff

visited, consulted or received treatment from at any time from June 2017, to present,

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including, but not limited to, medical records, laboratory and test results, consultation notes,

and statements of charges for services rendered.

       RESPONSE 35.

       Objections: This Request seeks or purports to impose upon Plaintiff obligations other

than those imposed by the FRCP and the applicable Rules of this Court. This Request calls

for documents not within her possession, custody, or control. This Request seeks

information that is not proportional to the needs of the case. This Request seeks

information that is not relevant to the subject matter of this litigation. This Request is vague,

ambiguous, argumentative, overbroad, redundant, overlapping, repetitive, harassing, and

unduly burdensome, and not reasonably calculated to lead to the discovery of admissible

evidence. Notwithstanding the objections and subject to them, none.



       36.    Any and all documents concerning any physical or mental condition that

Plaintiff claims is at issue in this case, which were not already produced in response to the

above requests.

       RESPONSE 36.

       Objections: This Request seeks or purports to impose upon Plaintiff obligations other

than those imposed by the FRCP and the applicable Rules of this Court. This Request calls

for documents not within her possession, custody, or control. This Request seeks

information that is not proportional to the needs of the case. This Request seeks

information that is not relevant to the subject matter of this litigation. This Request is vague,

ambiguous, argumentative, overbroad, redundant, overlapping, repetitive, harassing, and

unduly burdensome, and not reasonably calculated to lead to the discovery of admissible

evidence. Notwithstanding the objections and subject to them, none.



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                      REDACTED




                               The Plaintiff,
                               LAUREN ROLLINS,
                               By her attorney,

Dated: November 14, 2022       /s/ Raymond Dinsmore (BBO # 667340)
                               Raymond Dinsmore (BBO # 667340)
                               Hayber, McKenna & Dinsmore, LLC
                               One Monarch Place, Suite 1340
                               Springfield, MA 01144
                               Tel: 413-785-1400; Fax: (860) 218-9555
                               eMail: rdinsmore@hayberlawfirm.com




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                               CERTIFICATE OF SERVICE

      I, Raymond Dinsmore, hereby certify that a copy of the foregoing document was

served via e-Mail and/or U.S. Mail, postage prepaid, as follows:

                           Benjamin R. Davis
                           Austin D. Jones
                           Jackson Lewis P.C.
                           75 Park Plaza, 4thFloor
                           Boston, MA 02116
                           eMail:       Benjamin.Davis@jacksonlewis.com
                                        Austin.Jones@jacksonlewis.com


Dated: November 14, 2022                              /s/ Raymond Dinsmore
                                                  Raymond Dinsmore




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